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This stay is necessary to prevent further retaliation, protect Plaintiff's constitutional rights,
and preserve this Court's ability to provide effective relief.

These additional stays are crucial not only to prevent additional retaliatory measures but
also to recognize the fundamental invalidity of the state court proceedings stemming from
the improperly denied peremptory challenge. As the Supreme Court noted in Nken v.
Holder, 556 U.S. 418, 426 (2009), a stay "ensure[s] that courts do not [...] deprive litigants
of the opportunity to obtain a decision on the merits of their claims." In this case, these
stays are essential to preserve this Court's ability to render a meaningful decision on the
serious constitutional and federal law violations alleged, as well as to address the
foundational issue of the void state court judgments.

The interests of justice, the integrity of the judicial process, the protection of fundamental
constitutional rights, the safeguarding of whistleblowers, and the recognition of void
judgments demand no less than full and immediate consideration of these claims.

VERIFICATION

IT IS HEREBY certified that the facts in the foregoing is true and correct under penalty of
perjury to the best of my knowledge and belief. Attachments to this are true and correct
copies of the items they portray to be. Dated 08/12/24

Rob Emert
2351 Vista Lago Terrace
Escondido California 92029

robemert@msn.com
(760) 612-9328

EXHIBITS

A. Evidence demonstrating Commissioner Ratekin's lack of jurisdiction following an
improperly denied peremptory challenge.

B. Documentation showing the absence of evidence to support placing Plaintiff's sonina
facility, despite concerted efforts by certain defendants to do so.
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C. Records of Judge Alksne ignoring Commissioner Ratekin's fraud and disregarding
Plaintiff's ADA requests and continuance request following a life-threatening heart attack.

D. Plaintiff's California Supreme Court habeas corpus petition, which details extensive
fraud by the District Attorney's office.

E. Amotion under California Penal Code §1424 documenting substantial misconduct by
Deputy District Attorney Balerio and District Attorney Investigator Luis Pena.

F. Evidence of Judge Robinson's continued efforts to obstruct justice by focusing on
procedural technicalities rather than addressing the substantive merits of the case,
effectively toying with a pro se litigant.
